HUTTERISCHE BRUDER GEMEINDE AND MICHAEL WALDNER, JOSEPH E. WALDNER, JOHANN J. WALDNER, JOSEPH J. KLEINSASSER, JOSEPH M. WALDNER, MICHAEL WALDNER, SR., AND JOSEPH KLEINSASSER, SR., TRUSTEES AND SUCCESSORS, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Hutterische Bruder Gemeinde v. CommissionerDocket No. 15757.United States Board of Tax Appeals14 B.T.A. 771; 1928 BTA LEXIS 2923; December 17, 1928, Promulgated *2923  Invested capital determined upon the basis of the value at the time acquired of real estate paid in without consideration by a predecessor corporation in 1906.  E. B. Quiggle, Esq., John R. Yates, Esq., and N. J. Cramer, Esq., for the petitioners.  Brice Toole, Esq., for the respondent.  SMITH *771  This proceeding involves a deficiency for the calendar year 1918 in the amount of $10,779.68.  The only question at issue is the right of the Hutterische Bruder Gemeinde, a South Dokota corporation, to have its invested capital determined upon the basis of the value of certain property which was deeded to it in the year 1906 by a predecessor corporation.  The respondent has computed the tax of the corporation under the provisions of sections 327 and 328 of the Revenue Act of 1918.  *772  FINDINGS OF FACT.  In or about the year 1874 certain colonists, who believed in a communistic life as a part of their religion, settled in what is now Bon Homme County, South Dakota.  Shortly thereafter, they formed a corporation known as Hoderische Bruder Gemeinde under the laws of the Territory of Dakota, which took title to and held land and other property*2924  belonging to the colony.  Some of the land was acquired by the members by preemption and homestead rights under the public land laws of the United States and some was purchased by the corporation.  In the year 1905 officers or representatives of the corporation filed new articles of incorporation in the name of Hutterische Bruder Gemeinde.  The new corporation had no capital stock and no stockholders.  Under date of January 31, 1906, the predecessor corporation transferred to the new corporation, without consideration, all of its lands in the State of South Dakota comprising 16,308 acres.  The number of acres and the value of said lands at the time acquired by the new corporation were as follows: Bon Homme Colony, 5,786 acres, at $50 per acre$289,300Maxwell Mills Colony, 3,160 acres, at $50 per acre158,000Milltown Colony, 3,520 acres, at $50 per acre176,000Rosedale Colony, 2,920 acres, at $40 per acre116,800Bon Homme Island, 922 acres, at $30 per acre27,660At the time the aforesaid lands were acquired by the new corporation there were buildings thereon of a total value of $30,000.  The fair rate of depreciation on said buildings was 3 per*2925  cent per annum from January 31, 1906, until January 1, 1918.  From its incorporation in 1905 to January 1, 1918, the Hutterische Bruder Gemeinde purchased other lands in the State of South Dakota, totaling 7,848 acres, for which it paid an aggregate amount of $262,980.  All of the aforesaid lands were held and owned by it during the entire calendar year 1918.  At January 1, 1918, the Hutterische Bruder Gemeinde had no indebtedness and all of the aforesaid lands were free of mortgage or other incumbrance.  During the year 1918 it borrowed certain sums of money with which it purchased lands in Canada.  At January 1, 1918, the Hutterische Bruder Gemeinde had cash on hand in the amount of $6,265.33, and on December 31, 1918, it had cash on hand in the amount of $1,293.77.  OPINION.  SMITH: The principal questions at issue in this proceeding are whether the Hutterische Bruder Gemeinde is entitled to have its invested capital for the year 1918 computed upon the basis of the *773  value in 1906 of the property, which was deeded to it in that year, and, if so, the value of such property at that time.  The parties are substantially in agreement as to all the material facts except*2926  those relating to valuation.  The respondent's position is that the purported incorporation of the Hutterische Bruder Gemeinde in 1905 did not result in the creation of a new corporation but was merely the continuation of an already existing corporation, the Hoderische Bruder Gemeinde created under the laws of the Territory of Dakota in the year 1874; that the property in question was paid in to the corporation in the year 1874; and that since its value at that time can not now be ascertained satisfactorily the corporation's tax liability for the year 1918 has been properly computed under the provisions of sections 327 and 328 of the Revenue Act of 1918.  Section 326 of the Revenue Act of 1918 reads in part as follows: (a) That as used in this title the term "invested capital" for any year means (except as provided in subdivisions (b) and (c) of this section): (1) Actual cash bona fide paid in for stock or shares; (2) Actual cash value of tangible property, other than cash, bona fide paid in for stock or shares, at the time of such payment, but in no case to exceed the par value of the original stock or shares specifically issued therefor, unless the actual cash value of*2927  such tangible property at the time paid in is shown to the satisfaction of the Commissioner to have been clearly and substantially in excess of such par value, in which case such excess shall be treated as paid-in surplus: * * * (3) Paid-in or earned surplus and undivided profits; not including surplus and undivided profits earned during the year.  Section 327 of the Revenue Act of 1918 reads in part as follows: That in the following cases the tax shall be determined as provided in section 328: (a) Where the Commissioner is unable to determine the invested capital as provided in section 326.  The articles of incorporation filed by the new company in 1905 and those incident to the incorporation of the old company under the laws of the Territory of Dakota were materially different.  The old corporation had a capital stock of $20,000.  The new corporation had no capital stock.  The management of the old corporation was by a board of directors; that of the new corporation was by trustees.  In the original articles of incorporation that title "Hoderische Bruder Gemeinde" appeared, which is, as to the spelling of the first word of the title, said to have been in error, and in the*2928  new corporation's articles of incorporation the title appeared as "Hutterische Bruder Gemeinde." During the year 1906 the old corporation transferred to the new corporation by deed all of its assets and the new corporation continued to carry on the business in practically the same way as had the old company.  *774  The question, therefore, is whether, within the meaning of section 326 of the Revenue Act of 1918, the property, the value of which the petitioners seek to include in invested capital for 1918, was "paid in" during the year 1906.  Or, in other words, whether, for the purpose of determining invested capital, the apparent incorporation of the new company under the laws of the State of South Dakota in 1905 resulted in the creation of a new corporate entity, or whether it was merely a continuation of the old corporation created under the laws of the Territory of Dakota.  An Act of Congress, approved February 22, 1889, provided for the division of the Territory of Dakota into the States of North Dakota and South Dakota and for the admission of these States into the Union.  The constitution adopted by the State of South Dakota in 1889 provided, in article 26, section*2929  1, as follows: That no inconvenience may arise from the change of the territorial government to the permanent state government, it is hereby declared that all writs, actions, prosecutions, claims and rights of individuals, and all bodies corporate, shall continue as if no change had taken place in this government; * * * The statutes of the State of South Dakota make provision both for the organization of corporations (see sections 8757 to 8763, South Dakota Revised Code, 1919) and for the amendment of the articles of incorporation of any corporation created under the laws of the Territory of Dakota or the State of South Dakota.  (See sections 8766 to 8771, South Dakota Revised Code, 1919.) In securing its present charter the Hutterische Bruder Gemeinde proceeded under the provisions of the statute authorizing the organization of new corporations.  So far as the record shows the old corporation created under the laws of the Territory of Dakota continued to exist after the new company's incorporation.  We know that in the year 1906 the old corporation transferred by deed to the new corporation certain assets, among which was the property now under consideration.  The facts are*2930  undisputed that the incorporation of the Hutterische Bruder Gemeinde under the laws of the State of South Dakota in 1905 was regular and complete.  There is no allegation or evidence of fraud or other irregularity.  The transactions occurred prior to the existence of any profits-tax laws so that there is no question of tax evasion.  In support of his contention that there was not created a new corporation in the year 1905 the respondent quotes from 14 C.J. 197, as follows: The mere amendment of a charter or articles of incorporation does not create a new corporation or otherwise affect the identity of the corporation, or its existing rights of action, property rights, or liabilities; and this is true even where the amendment is made by the substitution of a new charter, *775 if the manifest intention is to amend merely and not to create a new corporation. * * * (Italic supplied.) This rule seems to us to strengthen the petitioner's position.  Certainly it was the apparent intention of the parties acting for the Hutterische Bruder Gemeinde to create a new corporation and there is nothing in the evidence to indicate that there was any intention on their part merely to*2931  amend the articles of incorporation filed in 1874.  The intention to create a new corporation is further shown by the fact that the old corporation executed a formal deed in transferring the property to the new corporation.  This would have been unnecessary in the case of an amendment.  The case of , which the respondent cites, dealing with the effect of reorganization of corporations upon the income of stockholders, is not in point.  Here we are concerned with the effect of a reincorporation upon the invested capital of a corporation and not with any gain to the stockholders resulting from a reorganization. Even if we look to the substance rather than to the form of the corporate transactions, as respondent urges, it does not follow that we must reach a different conclusion.  "Invested capital", as the term is used in the Revenue Act of 1918, is purely a statutory concept.  Substance is itself in this itstance largely a matter of form.  Since the Hutterische Bruder Gemeinde was regularly and lawfully incorporated under the laws of the State of South Dakota in the year 1905, and since the property in question was transferred*2932  to it by its predecessor corporation during the following year, it is entitled, under the provisions of section 326(a)(3) of the Revenue Act of 1918 above quoted, to include in its invested capital for the taxable year the value of such property at the time paid in in 1906.  Judgment will be entered under Rule 50.